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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

CRYPTOPEAK SECURITY, LLC,

                      Plaintiff,                  Civil Action No. 1:17-cv-739-LPS-CJB

       v.

CABELA’S, INC.,                                   JURY TRIAL DEMANDED

                      Defendant.


                               JOINT STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED that all claims and counterclaims

asserted by the parties in the above-captioned action is hereby dismissed without prejudice, by

agreement of the parties, pursuant to Fed. R. Civ. P. 41(a)(1), with each party to bear its own

costs, expenses and attorneys’ fees.
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DATED: December 8, 2017

 DEVLIN LAW FIRM LLC                          FISH & RICHARDSON P.C

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                  SO ORDERED THIS ____ day of                  , 2017.


                                          ________________________________
                                          UNITED STATES DISTRICT JUDGE




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2017, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

                                                     /s/ Timothy Devlin
                                                     Timothy Devlin




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